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                                         March 17, 2024

VIA ECF                           The request to seal is GRANTED.

The Honorable Lewis J. Liman      DATE: March 18, 2024
United States District Judge
Southern District of New York
500 Pearl Street, Room 701
New York, New York 10007


       Re: United States v. Michael Shvartsman et al, 23 Cr. 307 (LJL)
           Letter Motion to Seal Document

Dear Judge Liman:

       I represent Defendant Michael Shvartsman in connection with the above-referenced matter.

       Mr. Shvartsman submits this Letter Motion respectfully requesting that the following
document previously filed of record be sealed. Specifically: the Letter addressed to Judge Lewis
J. Liman from Tai H. Park dated March 15, 2024 re: Mr. Shvartsman’s pending motion to suppress
certain statements and recorded conversations (Dkt. 97) contains certain contact information,
which the government has asked to be redacted as confidential, and we agree to that request.

        While we have requested that the Clerk seal Dkt. 97 on a temporary basis, we respectfully
request that the Court order that sealing by endorsing this letter above. A replacement letter with
the redaction will be filed.

Respectfully submitted,




Tai H. Park

cc:    All counsel of record via ECF
